               Case 13-05868-8-SWH                                 Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                                          Page 1 of 52
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                    Eastern District of North Carolina                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Lewis, Leonard


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6744
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  2222 Jefferson Street
  Wilmington, NC
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         28401
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  New Hanover
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
            Case 13-05868-8-SWH                      Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                               Page 2 of 52
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Lewis, Leonard
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Paul A. Newton                               September 17, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Paul A. Newton

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
          Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                             Page 3 of 52
B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Lewis, Leonard
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Leonard Lewis                                                                    X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Leonard Lewis

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     September 17, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Paul A. Newton
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Paul A. Newton 14255                                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Calder & Calder, PLLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      611 Princess Street
      Wilmington, NC 28401                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                        Email: bankruptcy@calderlaw.com
      910-763-1683 Fax: 910-343-9444
     Telephone Number
     September 17, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
         Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                Page 4 of 52



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re     Leonard Lewis                                                                          Case No.
                                                                            Debtor(s)             Chapter    13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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        Case 13-05868-8-SWH                             Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24   Page 5 of 52



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                       Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Leonard Lewis
                                                                                Leonard Lewis
                                                  Date:          September 17, 2013




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     Case 13-05868-8-SWH                  Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 6 of 52
     Hummingbird                        Credit Counseling                              and         Education,                   Inc.
                  CREDIT COUNSELING CERTIFICATION
                                                                                                     418680-J450029M-56
                                                                                Certificate Number: __________________

                                                     Leonard Lewis
I CERTIFY that on September 10, 2013, at 12:45 PM EDT, Leonard Lewis received from
Hummingbird Credit Counseling and Education, Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in North Carolina, Eastern District, an individual briefing (including
a briefing conducted by telephone or on the Internet) that complied with the provisions of 11 U.S.C.
§§ 109(h) and 111. A debt repayment plan was not prepared.

        Victoria S. Wright, Esq.
By: __________________________________                                                  September 10, 2013
                                                                           Date: ________________________________

          Executive Director of Education
Title: _________________________________



*Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy Code are required to file with the United States
Bankruptcy Court a completed certificate of counseling from the nonprofit budget and credit counseling agency that provided the individual the
counseling services and a copy of the debt repayment plan, if any, developed through the credit counseling agency. See 11 U.S.C. §§ 109(h) and
521(b).
             Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                        Page 7 of 52
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re          Leonard Lewis                                                                             Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                          Chapter                        13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                  94,500.00


B - Personal Property                                     Yes             4                    4,347.87


C - Property Claimed as Exempt                            Yes             4


D - Creditors Holding Secured Claims                      Yes             1                                         120,163.42


E - Creditors Holding Unsecured                           Yes             2                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             2                                            865.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       1,800.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                          709.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                18


                                                                    Total Assets             98,847.87


                                                                                     Total Liabilities              121,028.42




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             Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                         Page 8 of 52
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re           Leonard Lewis                                                                                      Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                 0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                                0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       1,800.00

             Average Expenses (from Schedule J, Line 18)                                                      709.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        1,064.02


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                25,663.42

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                              865.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       26,528.42




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             Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                          Page 9 of 52
B6A (Official Form 6A) (12/07)


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 In re         Leonard Lewis                                                                                 Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Debtor's Primary Residence: Intends to retain.                           Fee simple                  -                   94,500.00                114,897.00
Payment in plan.
Location: 2222 Jefferson Street, Wilmington NC
28401




                                                                                                 Sub-Total >            94,500.00          (Total of this page)

                                                                                                         Total >        94,500.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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             Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 10 of 52
B6B (Official Form 6B) (12/07)


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 In re         Leonard Lewis                                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Debtor's cash on hand                                             -                            60.00
                                                          Location: 2222 Jefferson Street, Wilmington NC
                                                          28401

2.    Checking, savings or other financial                Debtor's WellsFargo Checking Account ending                       -                           110.95
      accounts, certificates of deposit, or               #1941. Balance as of August 8, 2013.
      shares in banks, savings and loan,
      thrift, building and loan, and                      Debtor's PenFed Share Account ending #9-01-9.                     -                           456.92
      homestead associations, or credit                   Balance as of August 11, 2013.
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Location: 2222 Jefferson Street, Wilmington NC                    -                        3,220.00
      including audio, video, and                         28401
      computer equipment.                                 Living Room -- Subtotal of $725.00
                                                          Couch - 1
                                                          Desk - 1
                                                          TV Stand - 1
                                                          TV - 1
                                                          Bedrooms(2) -- Subtotal of $475.00
                                                          Bed - 1
                                                          Dresser - 1
                                                          Nightstand - 1
                                                          Kitchen -- Subtotal of $1845.00
                                                          Refrigerator - 1
                                                          Stove - 1
                                                          Microwave - 1
                                                          Dishwasher - 1
                                                          Dishes - set
                                                          Cookware - set
                                                          Other Rooms -- Subtotal of $175.00
                                                          Lawn Mower - 1
                                                          Total Value of all Household Goods $3220.00




                                                                                                                            Sub-Total >            3,847.87
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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          Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 11 of 52
B6B (Official Form 6B) (12/07) - Cont.




 In re         Leonard Lewis                                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Location: 2222 Jefferson Street, Wilmington NC                    -                           500.00
                                                          28401

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.


                                                                                                                            Sub-Total >              500.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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          Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 12 of 52
B6B (Official Form 6B) (12/07) - Cont.




 In re         Leonard Lewis                                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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          Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                Page 13 of 52
B6B (Official Form 6B) (12/07) - Cont.




 In re         Leonard Lewis                                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >           4,347.87
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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              Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                            Page 14 of 52
 B6C (Official Form 6C) (4/13)


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  In re         Leonard Lewis                                                                                            Case No.
                                                                                                             ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                    $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                         with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                           Value of                 Current Value of
                  Description of Property                                          Each Exemption                               Claimed                  Property Without
                                                                                                                               Exemption               Deducting Exemption
Cash on Hand
Debtor's cash on hand                                                     N.C. Gen. Stat. § 1-362                                          60.00                            60.00
Location: 2222 Jefferson Street, Wilmington NC
28401

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Debtor's WellsFargo Checking Account ending       N.C. Gen. Stat. § 1-362                                                                110.95                            110.95
#1941. Balance as of August 8, 2013.

Debtor's PenFed Share Account ending #9-01-9.                             N.C. Gen. Stat. § 1-362                                        456.92                            456.92
Balance as of August 11, 2013.

Household Goods and Furnishings
Location: 2222 Jefferson Street, Wilmington NC                            N.C. Gen. Stat. § 1C-1601(a)(4)                              3,220.00                         3,220.00
28401
Living Room -- Subtotal of $725.00
Couch - 1
Desk - 1
TV Stand - 1
TV - 1
Bedrooms(2) -- Subtotal of $475.00
Bed - 1
Dresser - 1
Nightstand - 1
Kitchen -- Subtotal of $1845.00
Refrigerator - 1
Stove - 1
Microwave - 1
Dishwasher - 1
Dishes - set
Cookware - set
Other Rooms -- Subtotal of $175.00
Lawn Mower - 1
Total Value of all Household Goods $3220.00

Wearing Apparel
Location: 2222 Jefferson Street, Wilmington NC                            N.C. Gen. Stat. § 1C-1601(a)(4)                                500.00                            500.00
28401




                                                                                                             Total:                    4,347.87                         4,347.87
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                            Page 15 of 52
Rev. 12/2009
                                                             UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF NORTH CAROLINA

IN THE MATTER OF:                                                                                                CASE NUMBER:
Leonard Lewis
            Debtor(s).


                                                       SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,  Leonard Lewis         , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina,
and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant
with rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the
former co-owner, if a child use initials only, of the property below).

                                            Owner
                                            (H)Husband                                  Amount of
Description of Property              Market (W)Wife    Mortgage Holder                   Mortgage               Net       Value Claimed as Exempt
and Address                           Value (J)Joint   or Lien Holder                      or Lien            Value Pursuant to NCGS 1C-1601(a)(1)
-NONE-

Debtor's Age:
Name of former co-owner:

                                            VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                 0.00

           2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                            Owner
                                            (H)Husband
Model, Year                          Market (W)Wife                                     Amount of               Net       Value Claimed as Exempt
Style of Auto                         Value (J)Joint   Lien Holder                          Lien              Value Pursuant to NCGS 1C-1601(a)(3)
-NONE-

                                       VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                    0.00




Schedule C-1 - Property Claimed as Exempt - 12/2009
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 16 of 52


         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                     Owner
                                                     (H)Husband                                                                        Claimed as Exempt
Description                                   Market (W)Wife           Lien                              Amount                  Net    Pursuant to NCGS
of Property                                    Value (J)Joint          Holder                             of Lien              Value        1C-1601(a)(4)
Location: 2222
Jefferson Street,
Wilmington NC
28401
Living Room --
Subtotal of $725.00
Couch - 1
Desk - 1
TV Stand - 1
TV - 1
Bedrooms(2) --
Subtotal of $475.00
Bed - 1
Dresser - 1
Nightstand - 1
Kitchen -- Subtotal
of $1845.00
Refrigerator - 1
Stove - 1
Microwave - 1
Dishwasher - 1
Dishes - set
Cookware - set
Other Rooms --
Subtotal of $175.00
Lawn Mower - 1
Total Value of all
Household Goods
$3220.00                                  3,220.00                                                                         3,220.00              3,220.00
Location: 2222
Jefferson Street,
Wilmington NC
28401                                        500.00                                                                          500.00                500.00

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                      3,720.00

           4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                            Owner
                                            (H)Husband
                                     Market (W)Wife    Lien                                  Amount of                Net       Value Claimed as Exempt
Description                           Value (J)Joint   Holder                                    Lien               Value Pursuant to NCGS 1C-1601(a)(5)
-NONE-

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                            0.00

           5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                      Cash
Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                            Value
-NONE-

           6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

Description
-NONE-

Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                  Page 2
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                             Page 17 of 52


        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability
Policy/Annuity
-NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                            Owner
                                            (H)Husband
Description of Property              Market (W)Wife    Lien                                Amount                Net       Value Claimed as Exempt
and Address                           Value (J)Joint   Holder                               of Lien            Value Pursuant to NCGS 1C-1601(a)(2)
-NONE-

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                           0.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

Type of Account\Location of Account\Last Four Digits of Account Number
-NONE-

          10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually
be used for the child's college or university expenses.

College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
-NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
-NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

Type of Support\Amount\Location of Funds
-NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

Description of                              Market Lien                                                          Amount                                Net
Property and Address                         Value Holder                                                         of Lien                            Value
-NONE-

                                                                                                 VALUE CLAIMED AS EXEMPT: $                           0.00

           14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                 Page 3
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                  Page 18 of 52


           15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
a.         § 1-362                                                                                                                                         60.00
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
b.         § 1-362                                                                                                                                       456.92
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
c.         § 1-362                                                                                                                                       110.95


           16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

           17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

           18. RECENT PURCHASES

           (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                         Market Lien                                                 Amount                   Net
Description                                                               Value Holder                                                of Lien               Value
-NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt
and that was not acquired by transferring or using additional property.

Description of Replacement Property                                    Description of Property Liquidated or Converted that May Be Exempt



           19. The debtor's property is subject to the following claims:

a.          Of the United States or its agencies as provided by federal law.
b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
e.          For payment of obligations contracted for the purchase of specific real property affected.
f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
            notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
g.          For statutory liens, on the specific property affected, other than judicial liens.
h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                      Nature of                              Amount of Description of                                  Value                 Net
Claimant                              Claim                                     Claim Property                                    of Property              Value
                                                                                      Debtor's Primary
                                                                                      Residence: Intends to
                                                                                      retain. Payment in plan.
                                                                                      Location: 2222 Jefferson
                                                                                      Street, Wilmington NC
Chase Mortgage                        Mortgage                             114,897.00 28401                                       94,500.00                 0.00




Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                        Page 4
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                            Page 19 of 52


         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


           None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.

                                 UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                            TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Leonard Lewis         , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 5 sheets, and that they are true and correct to the best of my knowledge, information and belief.




Executed on: September 17, 2013                                                /s/ Leonard Lewis
                                                                               Leonard Lewis
                                                                                                               Debtor




Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                               Page 5
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              Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                        Page 20 of 52
 B6D (Official Form 6D) (12/07)


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  In re         Leonard Lewis                                                                                             Case No.
                                                                                                             ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxxx5858                                       Opened 5/16/07                                             E
                                                                                                                           D
                                                                Mortgage
Chase Mortgage
                                                              Debtor's Primary Residence: Intends to
Attn.: Managing Agent
                                                              retain. Payment in plan.
3415 Vision Dr
                                                            - Location: 2222 Jefferson Street,
PO Box 24696                                                  Wilmington NC 28401
Columbus, OH 43219
                                                                Value $                               94,500.00                         114,897.00                 20,397.00
Account No. xx xxx 4741                                         11/24/2009

East Coast Credit Union                                         Judical Lien
Attn.: Managing Agent
                                                              Money Owed includes Judgment,
3815 Park Ave
                                                            - Interest & Court Cost; Debtor intends to
Wilmington, NC 28403-6720                                     avoid this lien.
                                                                Value $                                    0.00                            5,266.42                  5,266.42
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                      120,163.42                 25,663.42
                                                                                                          (Total of this page)
                                                                                                                     Total              120,163.42                 25,663.42
                                                                                           (Report on Summary of Schedules)

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             Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                               Page 21 of 52
B6E (Official Form 6E) (4/13)


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 In re         Leonard Lewis                                                                                                      Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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           Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                     Page 22 of 52
 B6E (Official Form 6E) (4/13) - Cont.




  In re         Leonard Lewis                                                                                            Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     For Notice Purposes                                       E
                                                                                                                          D

Internal Revenue Service
Insolvency Support Services                                                                                                                          0.00
Attn.: Managing Agent
                                                            -
PO Box 7346
Philadelphia, PA 19101-7346
                                                                                                                                             0.00                    0.00
Account No.                                                     For Notice Purposes

NC Department of Revenue
Attn.: Managing Agent                                                                                                                                0.00
Bankruptcy Unit
                                                            -
PO Box 1168
Raleigh, NC 27602-1168
                                                                                                                                             0.00                    0.00
Account No.                                                     For Notice Purposes Only: Ad Valorem
                                                                Taxes in Lender Escrow
New Hanover County Tax Dept.
Attn.: Managing Agent                                                                                                                                0.00
Bankruptcy Unit
                                                            -
230 Government Ctr.Dr, Ste 190
Wilmington, NC 28403
                                                                                                                                             0.00                    0.00
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)                0.00                    0.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)                  0.00                    0.00

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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                             Page 23 of 52
B6F (Official Form 6F) (12/07)

 In re     Leonard Lewis                                                                                     Case No.
                                                                                     Debtor(s)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number of all entities holding unsecured claims
without priority against the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the
creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's
initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this
page, use the continuation sheet provided.

        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint,
or Community."

        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these
three columns).

       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total
also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary
of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding secured claims to report on this Schedule F.

                                                       Husband, Wife, Joint , or Community
                                                                                                     C   U   D
                                                  C    H                                             O   N   I
                                                  O    W                                             N   L   S
            CREDITOR'S NAME,                                               DATE CLAIM WAS                                    AMOUNT OF
                                                  D    J                                             T   I   P
             MAILING ADDRESS                      E    C                    INCURRED AND             I   Q   U                 CLAIM
           INCLUDING ZIP CODE,                    B                      CONSIDERATION FOR           N   U   T
          AND ACCOUNT NUMBER                      T                            CLAIM.                G   I   E
             (See instructions above.)            O                    IF CLAIM IS SUBJECT TO        E   D   D
                                                  R                       SETOFF, SO STATE.          N   A
                                                                                                     T   T
                                                                                                         E
                                                                                                         D
ACCOUNT NO. xxxxxx4919
                                                             12/31/2012

JPMorgan Chase Bank, N.A.                                    This creditor is listed on
Attn.: Managing Agent                                        Schedule F solely for the
3415 Vision Dr                                               purpose of discharging any
PO Box 24696                                                 potential tax liability associated
Columbus, OH 43219                                           with the cancellation of debt
                                                             given by JPMorgan Chase Bank,
                                                       N
                                                             N.A. on 12/12/12 in the amount of
                                                       A
                                                             $36,128.87 on Debtor's second
                                                             mortgage, pursuant to the
                                                             provisions of the Joint
                                                             Federal/State Mortgage
                                                             Servicing Settlement, as this
                                                             creditor has reported said
                                                             cancellation to the IRS on Form
                                                             1099-C Cancellation of Debt
                                                                                                                                                     0.00




Sheet 1 of 2 total sheets in Schedule of Creditors
Holding Unsecured Nonpriority Claims
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        Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                             Page 24 of 52
B6F (Official Form 6F) (12/07) - Cont.
In re    Leonard Lewis                                                                                            Case No
                                                         Debtor(s)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                          (Continuation Sheet)

                                                       Husband, Wife, Joint , or Community
                                                                                                           C     U     D
                                                  C    H                                                   O     N     I
                                                  O    W                                                   N     L     S
           CREDITOR'S NAME,                                                DATE CLAIM WAS                                     AMOUNT OF
                                                  D    J                                                   T     I     P
            MAILING ADDRESS                       E    C                    INCURRED AND                   I     Q     U        CLAIM
          INCLUDING ZIP CODE,                     B                      CONSIDERATION FOR                 N     U     T
         AND ACCOUNT NUMBER                       T                            CLAIM.                      G     I     E
             (See instructions above.)            O                    IF CLAIM IS SUBJECT TO              E     D     D
                                                  R                       SETOFF, SO STATE.                N     A
                                                                                                           T     T
                                                                                                                 E
                                                                                                                 D
ACCOUNT NO. xxxxxxx70A0
                                                             03/31/09

Social Security Administration                               Government Overpayment of
                                                       N
Attn.: Managing Agent                                        Benefits paid on behalf of
                                                       A
155-10 Jamaica Ave                                           Debtor's deceased Mother.
Jamaica, NY 11432
                                                                                                                                              865.00
                                                                                                                     Total                    865.00
                                                                     (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                                                                            the Statistical
                                                                       Summary of Certain Liabilities and Related Data.)




Sheet 2 of 2 total sheets in Schedule of Creditors
Holding Unsecured Nonpriority Claims
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              Case 13-05868-8-SWH                      Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 25 of 52
B6G (Official Form 6G) (12/07)


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 In re             Leonard Lewis                                                                               Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    John Christner Trucking, Inc.                                       Assume Debtor's Commercial Work Truck Lease:
                    Attn.: Managing Agent                                               2014 Freight CASC: Serial No.(VIN)
                    19007 West Highway 33                                               3AKJGLD58ESFP1765.
                    Sapulpa, OK 74067-1900




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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              Case 13-05868-8-SWH                      Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                       Page 26 of 52
B6H (Official Form 6H) (12/07)


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 In re           Leonard Lewis                                                                          Case No.
                                                                                              ,
                                                                            Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                   NAME AND ADDRESS OF CREDITOR




      0
               continuation sheets attached to Schedule of Codebtors
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         Case 13-05868-8-SWH                Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                 Page 27 of 52


B6I (Official Form 6I) (12/07)
 In re     Leonard Lewis                                                                                Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Independent Truck Driver
Name of Employer                    Self-Employed
How long employed                   7 Months
Address of Employer                 Attn.: Managing Agent
                                    2222 Jefferson Street
                                    Wilmington, NC 28401
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $          N/A
2. Estimate monthly overtime                                                                             $          0.00          $          N/A

3. SUBTOTAL                                                                                              $             0.00       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,800.00       $                 N/A
8. Income from real property                                                                             $             0.00       $                 N/A
9. Interest and dividends                                                                                $             0.00       $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $             0.00       $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,800.00       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,800.00       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            1,800.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
      Case 13-05868-8-SWH               Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                        Page 28 of 52


B6I (Official Form 6I) (12/07)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor is an independent long-distance truck driver. Monthly gross income is dependent on the number of miles
         driven each month, with an allowance for fuel surcharge and weight station tolls. The monthly expense deductions
         include the lease/purchase payment to John Christner Trucking, Inc., for Debtor's 2014 Freightline Tractor Trailer
         Truck, diesel fuel charges, required maintenance, insurance and taxes. Debtor anticipates that his monthly net
         income will now average approximately $1800.00 a month, allowing him to retain his residence and make his monthly
         Chapter 13 Plan payments. This analysis is allowed per the ruling in the case of In re Lanning.
    Case 13-05868-8-SWH               Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                         Page 29 of 52


B6J (Official Form 6J) (12/07)
 In re    Leonard Lewis                                                                       Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Mortgage payment included in Chapter 13 Plan ($605.14)                                                   $                     0.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    40.00
                   b. Water and sewer                                                                       $                    30.00
                   c. Telephone                                                                             $                     0.00
                   d. Other Cell Phone & Wireless Internet Expense                                          $                   100.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   250.00
5. Clothing                                                                                                 $                    16.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                   125.00
8. Transportation (not including car payments)                                                              $                     0.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other Home Security System Expense                                                    $                    30.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Personal Care                                                                                     $                   100.00
    Other Bank fees                                                                                         $                    18.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                   709.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Note: Debtor spends a majority of his time on the road hauling freight as he is an
      independent long-distance truck driver. Expenses may fluctuate slightly depending on
      whether he is at home or hauling freight.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 1,800.00
b. Average monthly expenses from Line 18 above                                                              $                   709.00
c. Monthly net income (a. minus b.)                                                                         $                 1,091.00
         Case 13-05868-8-SWH                          Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                   Page 30 of 52
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re      Leonard Lewis                                                                              Case No.
                                                                                   Debtor(s)           Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      20
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 17, 2013                                               Signature   /s/ Leonard Lewis
                                                                                   Leonard Lewis
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                   Page 31 of 52

B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re       Leonard Lewis                                                                                     Case No.
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $8,555.51                         2013 YTD: Debtor Combined Net Income
                          $28,906.00                        2012: Debtor Tax Income <Form 1040 Line 22>
                          $12,077.00                        2011: Debtor Tax Income <Form 1040 Line 22>

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE



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        Case 13-05868-8-SWH                        Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 32 of 52


B7 (Official Form 7) (04/13)
2
              3. Payments to creditors

      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                  NATURE OF                             COURT OR AGENCY                                   STATUS OR
AND CASE NUMBER                                  PROCEEDING                            AND LOCATION                                      DISPOSITION
12 SP 1599                                       Foreclosure                           New Hanover County Superior Court                 Next
In Re Foreclosure of a Deed of Trust executed by                                       Division                                          Foreclosure
Leonard L. Lewis and Cathy Lewis, dated May                                                                                              Hearing
16, 2007 and recorded on July 10, 2007 in Book                                                                                           scheduled for
5208 at Page 2488 in the New Hanover County                                                                                              September
Register of Deeds, NC                                                                                                                    17, 2013.
09 CVM 4741                                                            Civil Action    New Hanover County                                Civil Action
                                                                                                                                         filed
East Coast Credit Union                                                                                                                  11/24/2009:
vs                                                                                                                                       Total of
Leonard Lewis                                                                                                                            $5266.49
                                                                                                                                         includes
                                                                                                                                         Judgment
                                                                                                                                         amount,
                                                                                                                                         interest &
                                                                                                                                         Court Cost;
                                                                                                                                         See Schedule
                                                                                                                                         D.

  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                              Page 33 of 52


B7 (Official Form 7) (04/13)
3

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE            PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                Page 34 of 52


B7 (Official Form 7) (04/13)
4
             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY
Calder & Calder, LLP                                                   June 2013                                     $1,000.00 Attorney Fee
611 Princess Street
Wilmington, NC 28401
Calder & Calder, LLP                                                   June 2013                                     $350.00 (reimbursement for
611 Princess Street                                                                                                  $281 filing fee, $34 credit
Wilmington, NC 28401                                                                                                 counseling fee, $35.00 credit
                                                                                                                     report fee)

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                              Page 35 of 52


B7 (Official Form 7) (04/13)
5

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
             operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 36 of 52


B7 (Official Form 7) (04/13)
6
             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 37 of 52


B7 (Official Form 7) (04/13)
7
             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                     Page 38 of 52


B7 (Official Form 7) (04/13)
8
             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date September 17, 2013                                                Signature   /s/ Leonard Lewis
                                                                                   Leonard Lewis
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                Page 39 of 52


                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re       Leonard Lewis                                                                                    Case No.
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,700.00
             Prior to the filing of this statement I have received                                        $                  1,000.00
             Balance Due                                                                                  $                  2,700.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Representation at the meeting of creditors if located in Wilmington NC; if a Chapter 13 case, all of those services
                 identified as standard base fee services in Rule 2016-1 of the Local Rules of the US Bankruptcy Court, EDNC,
                 unless otherwise allowed by the Court.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Any services or advice regarding taxes; extraordinary pre-bankruptcy planning; representation with regard to
              adversary proceedings, Rule 2004 examinations or depositions; redemption of property; reaffirmation of debt;
              motions to extend or impose the automatic stay for repeat filers; conversions to another chapter; services with
              regard to an audit of the case; any services necessitated by the debtor's delay or failure to promptly respond to
              the attorney of the trustee or perform the debtor's duties; any services not specifically included above; in a
              correspondence with the trustee or creditors, conducting the first meeting of creditors by interrogatories,
              amendments to schedule or statements due to the debtor's mistakes or omissions, any contested matters
              including valuation disputes, objections to exemptions, requests to surrender property, motions for relief from
              the automatic stay, or lien avoidance; and in a chapter 13 case contested eligibility or confirmation and any other
              services determined by the Court to warrant additional compensation, and all of those services identified as
              non-base fee services in Rule 2016-1 of the Local Rules of the US Bankruptcy Court EDNC, and also
              representation of the debtor in dischargeability and other adversary actions.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       September 17, 2013                                               /s/ Paul A. Newton
                                                                              Paul A. Newton
                                                                              Calder & Calder, PLLC
                                                                              611 Princess Street
                                                                              Wilmington, NC 28401
                                                                              910-763-1683 Fax: 910-343-9444
                                                                              bankruptcy@calderlaw.com


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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                  Page 40 of 52
B 201A (Form 201A) (11/12)



                                               UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NORTH CAROLINA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                 Page 41 of 52
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                Page 42 of 52



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re     Leonard Lewis                                                                                     Case No.
                                                                                 Debtor(s)                   Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
                                                                                                                                  September 17,
Leonard Lewis                                                                      X /s/ Leonard Lewis                            2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                 Page 43 of 52




                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re     Leonard Lewis                                                                          Case No.
                                                                                  Debtor(s)       Chapter    13




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: September 17, 2013                                               /s/ Leonard Lewis
                                                                       Leonard Lewis
                                                                       Signature of Debtor




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        Case 13-05868-8-SWH      Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24   Page 44 of 52


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Brock & Scott, PLLC
Attn.: Managing Agent
5431 Oleander Drive
Suite 200
Wilmington, NC 28403

Chase Mortgage
Attn.: Managing Agent
3415 Vision Dr
PO Box 24696
Columbus, OH 43219

East Coast Credit Union
Attn.: Managing Agent
3815 Park Ave
Wilmington, NC 28403-6720


Internal Revenue Service
Insolvency Support Services
Attn.: Managing Agent
PO Box 7346
Philadelphia, PA 19101-7346

JPMorgan Chase Bank, N.A.
Attn.: Managing Agent
3415 Vision Dr
PO Box 24696
Columbus, OH 43219

NC Department of Revenue
Attn.: Managing Agent
Bankruptcy Unit
PO Box 1168
Raleigh, NC 27602-1168

New Hanover County Tax Dept.
Attn.: Managing Agent
Bankruptcy Unit
230 Government Ctr.Dr, Ste 190
Wilmington, NC 28403

Social Security Administration
Attn.: Managing Agent
155-10 Jamaica Ave
Jamaica, NY 11432
         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                                   Page 45 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)
In re  Leonard Lewis                                                   According to the calculations required by this statement:
              Debtor(s)                                                   The applicable commitment period is 3 years.
Case Number:                                                              The applicable commitment period is 5 years.
                     (If known)                                           Disposable income is determined under § 1325(b)(3).
                                                                          Disposable income is not determined under § 1325(b)(3).
                                                                       (Check the boxes as directed in Lines 17 and 23 of this statement.)


                     CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
               AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                   Part I. REPORT OF INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1      a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
            b.     Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six        Column A                  Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the             Debtor's                  Spouse's
            six-month total by six, and enter the result on the appropriate line.                                      Income                   Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $           91.55 $
            Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero. Do not include any part of the business expenses entered on Line b as
     3      a deduction in Part IV.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $           8,342.50 $
             b.     Ordinary and necessary business expenses $               7,370.04 $
             c.     Business income                              Subtract Line b from Line a                    $                 972.47 $
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                Debtor                Spouse
             a.    Gross receipts                               $              0.00 $
             b.    Ordinary and necessary operating expenses $                 0.00 $
             c.    Rent and other real property income          Subtract Line b from Line a                            $             0.00 $
     5      Interest, dividends, and royalties.                                                                        $             0.00 $
     6      Pension and retirement income.                                                                             $             0.00 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse. Each regular payment should be reported in only one column; if a payment is
            listed in Column A, do not report that payment in Column B.                                                $             0.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $                    0.00 Spouse $                      $             0.00 $




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         Case 13-05868-8-SWH                       Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                             Page 46 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                          2

            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate
            maintenance payments paid by your spouse, but include all other payments of alimony or
            separate maintenance. Do not include any benefits received under the Social Security Act or
     9      payments received as a victim of a war crime, crime against humanity, or as a victim of
            international or domestic terrorism.
                                                                    Debtor                    Spouse
             a.                                             $                        $
             b.                                             $                        $                      $                  0.00 $
    10      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
            in Column B. Enter the total(s).                                                               $               1,064.02 $
    11      Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
            the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                  1,064.02

                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12      Enter the amount from Line 11                                                                                           $          1,064.02
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
            calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
            enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
            the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
            income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13      debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
            on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                               $
             b.                                                               $
             c.                                                               $
            Total and enter on Line 13                                                                                              $                0.00
    14      Subtract Line 13 from Line 12 and enter the result.                                                                     $          1,064.02

    15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
            enter the result.                                                                                                       $        12,768.24
            Applicable median family income. Enter the median family income for applicable state and household size. (This
    16      information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                NC     b. Enter debtor's household size:             1            $        40,710.00
            Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                  The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17            top of page 1 of this statement and continue with this statement.
                  The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                  at the top of page 1 of this statement and continue with this statement.
                              Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18      Enter the amount from Line 11.                                                                                          $          1,064.02
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
            any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
            debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
            payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
            dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19      separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                               $
             b.                                                               $
             c.                                                               $
            Total and enter on Line 19.                                                                                             $                0.00
    20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $          1,064.02

    21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
            enter the result.                                                                                                       $        12,768.24

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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                            Page 47 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                         3

    22      Applicable median family income. Enter the amount from Line 16.                                                        $        40,710.00
            Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                  The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23            1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                  The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                  1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                 Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
            Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
   24A      applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
            bankruptcy court.) The applicable number of persons is the number that would currently be allowed as exemptions
            on your federal income tax return, plus the number of any additional dependents whom you support.                      $
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
   24B      Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
             Persons under 65 years of age                             Persons 65 years of age or older
             a1.      Allowance per person                             a2.   Allowance per person
             b1.      Number of persons                                b2.   Number of persons
             c1.      Subtotal                                         c2.   Subtotal                                              $
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   25A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                            $
            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   25B      debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in Line 25B. Do
            not enter an amount less than zero.
             a.      IRS Housing and Utilities Standards; mortgage/rent expense     $
             b.      Average Monthly Payment for any debts secured by your
                     home, if any, as stated in Line 47                             $
             c.      Net mortgage/rental expense                                    Subtract Line b from Line a.                   $
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
            25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                   $




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 48 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                          4

            Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
            expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
            regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A      included as a contribution to your household expenses in Line 7.     0      1      2 or more.
            If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B      your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)     1      2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
            the result in Line 28. Do not enter an amount less than zero.
             a.     IRS Transportation Standards, Ownership Costs                   $
                    Average Monthly Payment for any debts secured by Vehicle
             b.     1, as stated in Line 47                                         $
             c.     Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.                    $
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 28.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
            the result in Line 29. Do not enter an amount less than zero.
             a.     IRS Transportation Standards, Ownership Costs                   $
                    Average Monthly Payment for any debts secured by Vehicle
             b.     2, as stated in Line 47                                         $
             c.     Net ownership/lease expense for Vehicle 2                       Subtract Line b from Line a.                    $
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30      state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $
            Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
    31      deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
            uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                            $
            Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32      life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
            any other form of insurance.                                                                                            $
            Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33      pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
            include payments on past due obligations included in line 49.                                                           $
            Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34      the total average monthly amount that you actually expend for education that is a condition of employment and for
            education that is required for a physically or mentally challenged dependent child for whom no public education
            providing similar services is available.                                                                          $

    35      Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
            childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.           $
            Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    36      health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
            insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not
            include payments for health insurance or health savings accounts listed in Line 39.                                     $

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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 49 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                            5

            Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37      actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
            pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
            welfare or that of your dependents. Do not include any amount previously deducted.                                        $
    38      Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $

                                           Subpart B: Additional Living Expense Deductions
                                  Note: Do not include any expenses that you have listed in Lines 24-37
            Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
            the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
            dependents.
    39       a.        Health Insurance                                  $
             b.        Disability Insurance                              $
             c.        Health Savings Account                            $
            Total and enter on Line 39                                                                                                $

            If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
            below:
            $
            Continued contributions to the care of household or family members. Enter the total average actual monthly
    40      expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
            ill, or disabled member of your household or member of your immediate family who is unable to pay for such
            expenses. Do not include payments listed in Line 34.                                                                      $
            Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41      actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
            applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $
            Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42      Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your case
            trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
            claimed is reasonable and necessary.                                                                                      $
            Education expenses for dependent children under 18. Enter the total average monthly expenses that you
            actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
    43      school by your dependent children less than 18 years of age. You must provide your case trustee with
            documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
            necessary and not already accounted for in the IRS Standards.                                                             $
            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                                 $
            Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45      contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
            170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                   $
    46      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                               $




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                             Page 50 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                          6


                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47      check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
            scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
            case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
            Payments on Line 47.
                   Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                 Monthly          include taxes
                                                                                                 Payment          or insurance
              a.                                                                             $                       yes no
                                                                                               Total: Add Lines                     $
            Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
              a.                                                                              $
                                                                                                              Total: Add Lines      $
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 33.                                                      $
            Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
            resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $
    50       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x
             c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $
    51      Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $

                                                      Subpart D: Total Deductions from Income
    52      Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $

                          Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53      Total current monthly income. Enter the amount from Line 20.                                                            $
            Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54      payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
            law, to the extent reasonably necessary to be expended for such child.                                                  $
            Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55      wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
            loans from retirement plans, as specified in § 362(b)(19).                                                            $
    56      Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                       $




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                               Page 51 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                               7

            Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
            there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
            If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
            provide your case trustee with documentation of these expenses and you must provide a detailed explanation
            of the special circumstances that make such expense necessary and reasonable.
    57              Nature of special circumstances                                                Amount of Expense
             a.                                                                                    $
             b.                                                                                    $
             c.                                                                                    $
                                                                                                   Total: Add Lines                   $

    58      Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
            result.                                                                                                                   $
    59      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                         $

                                                    Part VI. ADDITIONAL EXPENSE CLAIMS
            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
            of you and your family and that you contend should be an additional deduction from your current monthly income under §
            707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
            each item. Total the expenses.

    60              Expense Description                                                                            Monthly Amount
             a.                                                                                        $
             b.                                                                                        $
             c.                                                                                        $
             d.                                                                                        $
                                                                  Total: Add Lines a, b, c and d       $
                                                                       Part VII. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    61                    Date: September 17, 2013                                      Signature: /s/ Leonard Lewis
                                                                                                     Leonard Lewis
                                                                                                                (Debtor)




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       Case 13-05868-8-SWH                         Doc 1 Filed 09/17/13 Entered 09/17/13 13:11:24                      Page 52 of 52
B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                               8


                                               Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 03/01/2013 to 08/31/2013.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Southern Refrigeration
Income by Month:
 6 Months Ago:                              03/2013                      $0.00
 5 Months Ago:                              04/2013                    $549.28
 4 Months Ago:                              05/2013                      $0.00
 3 Months Ago:                              06/2013                      $0.00
 2 Months Ago:                              07/2013                      $0.00
 Last Month:                                08/2013                      $0.00
                             Average per month:                         $91.55




Line 3 - Income from operation of a business, profession, or farm
Source of Income: John Christner Trucking, Inc.
Income/Expense/Net by Month:
                          Date                                          Income                    Expense                    Net
 6 Months Ago:                  03/2013                                          $0.00                     $0.00                       $0.00
 5 Months Ago:                  04/2013                                      $3,748.97                 $2,067.34                   $1,681.63
 4 Months Ago:                  05/2013                                     $11,345.21                $10,599.75                    $745.46
 3 Months Ago:                  06/2013                                     $15,462.84                $15,165.98                    $296.86
 2 Months Ago:                  07/2013                                      $7,383.96                 $7,110.59                    $273.37
 Last Month:                    08/2013                                     $12,114.03                 $9,276.56                   $2,837.47
                      Average per month:                                     $8,342.50                 $7,370.04
                                                                                         Average Monthly NET Income:                 $972.47
Remarks:
Debtor is an independent long-distance truck driver. Monthly gross income is dependent on the number of miles driven each
month, with an allowance for fuel surcharge and weight station tolls. The monthly expense deductions include the
lease/purchase payment to John Christner Trucking, Inc., for Debtor's 2014 Freightline Tractor Trailer Truck, diesel fuel
charges, required maintenance, insurance and taxes. Debtor anticipates that his monthly net income will now average
approximately $1800.00 a month, allowing him to retain his residence and make his monthly Chapter 13 Plan payments.
This analysis is allowed per the ruling in the case of In re Lanning.




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